
640 S.E.2d 57 (2006)
STATE of North Carolina
v.
Vonsa GRAHAM.
No. 408P06.
Supreme Court of North Carolina.
December 14, 2006.
Vonsa Graham, Pro Se.
Nancy Reed Dunn, Assistant Attorney General, Thomas J. Keith, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed on the 7th day of August 2006 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 14th day of December 2006."
